CV-2021-01-0265

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IN THE COURT OF COMMON PLEAS

SUMMIT COUNTY, OHIO
ERIN CUMMINGS CASE NO.
1559 Canadian Ave.
Akron, Ohio 44306 JUDGE:

Plaintiff,

FERRIOT, INC.
1000 Arlington Circle
Akron, Ohio 44306

-and-

Also serve at:

Ferriot, Inc.

c/o ACFB Incorporated

200 Public Square, Ste 2300
Cleveland, Ohio 44114

-and-

MARC KEELER
1000 Arlington Circle
Akron, Ohio 44306

Also serve at:
3410 Chestnut Hill Dr.
Medina, Ohio 44256

-and-
MICHELLE QUICK

1000 Arlington Circle
Akron, Ohio 44306

Also serve at:
488 Oxford Ave.
Akron, Ohio 44310

-and-

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COMPLAINT FOR DAMAGES
AND REINSTATEMENT

JURY DEMAND ENDORSED
HEREIN

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KRISTI M. FREDMONSKY
1000 Arlington Circle
Akron, Ohio 44306

860 Fox Glove Circle
Barberton, Ohio 44203

)
)
)
)
Also serve at: )
)
)
)
Defendants. )
Plaintiff, Erin Cummings, by and through undersigned counsel, in his Complaint against,

Defendants states and avers the following:

PARTIES AND VENUE

1. Erin Cummings was a resident of the city of Akron, county of Summit, state of Ohio when
these events occurred.

2.  Ferriot, Inc. is a for profit corporation company that conducts substantial business at its
principal place of business located at 1000 Arlington Circle, Akron, Ohio, 44306.

3.  Ferriot, Inc. is registered in, transact business in, and caused tortious injuries in Summit
County, Ohio.

4. Marc Keeler is a resident of the state of Ohio, upon information and belief.

5. Keeler was, at all times hereinafter mentioned, an individual who was a manager and/or
supervisor at Ferriot, Inc. who acted directly or indirectly in the interest of Ferriot, Inc.

6.  Ferriot employed Keeler in the position of General Manager.

7. Keeler was, at all times hereinafter mentioned, an employer within the meaning of
R.C. 4112.01 et seq.

8. Keeler made, and/or participated in, the adverse actions asserted, herein.

9. Michelle Quick is a resident of the state of Ohio, upon information and belief.

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Quick was, at all times hereinafter mentioned, an individual who was manager and/or
supervisor and who acted directly or indirectly in the interest of Ferriot.

Ferriot employed Quick in the position of Supervisor.

Quick was, at all times hereinafter mentioned, an employer within the meaning of R.C.
4112.01 et seq.

Quick made, and/or participated in, the adverse actions asserted, herein.

Kristi Fredmonsky is a resident of the state of Ohio, upon information and belief.
Fredmonsky was, at all times hereinafter mentioned, an individual who was a manager and/or
supervisor with Defendants who acted directly or indirectly in the interest of Defendants.
Defendants employed Fredmonsky in the position of Manager of Human Resources.
Fredmonsky made, or participated in, the adverse actions asserted, herein.

Fredmonsky was, at all times hereinafter mentioned, an employer within the meaning of R.C.
4112.01 et seq.

Fredmonsky made, and/or participated in, the adverse actions asserted, herein.

Material events alleged in this Report occurred in Summit County.

Therefore, personal jurisdiction is proper over Defendants pursuant to R.C. 2307.382(A)(1),
(2), and (4).

Venue is proper pursuant to Civ.R. 3(C)(1) and (2).

This Court is a court of general jurisdiction over the claims presented herein, including all

subject matters of this Report.

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FACTS

A. Cummings Was A Good Employee

Cummings is a former employee of Ferriot.

Ferriot employed Cummings at the main location located at 1000 Arlington Circle, Akron,
Ohio, 44306.

Cummings began working for Ferriot on or around May 26, 2015.

Ferriot employed Cummings as a Material Handler.

Cummings was an exemplary employee with no history of meaningful history of discipline.

B. Cummings’ Disability

Cummings suffers from a back injury (“Disability”).

Cummings’ Disability affects her spine and legs.

Cummings’ Disability substantially impaired one or more of his major life activities
including lifting, walking, and working.

Cummings’ Disability is a physical impairment.

Cummings’ Disability is a disease.

Cummings’ back injury is a disability.

As a result of his back injury, Cummings is and was considered disabled within the meaning
in of R.C. 4112.01 et seq.

C. Cummings Sustains Back Injury While Working At Ferriot

On or about May 27, 2020, during the course and scope of her employment at Ferriot,
Cummings exited the paint room carrying a 50-pound container of paint and began lifting it
into a pot when Cummings experienced an excruciating, disabling pain in her back. (“Work-

Related Accident’).

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As a result of Cummings’ Work-Related Accident, Cummings’ excruciating, and disabling
pain in her back were later diagnosed as resulting from a lumbar sprain/strain injury and a
cervical sprain/strain injury. (“Work-Related Injuries”).
As a result of Cummings’ Work-Related Injuries, Cummings was immediately disabled and
was unable to move and stand straight without assistance.
As a result of Cummings’ Work-Related Injuries, Cummings’ co-worker, Nancy Boil,
immediately went to Cummings’ aid to assist her.

D. Cummings Notifies Supervisor, Michelle Quick, About Her Work-Related Accident.

Quick Refuses To Make A First Report of Injury. Quick Fails To Get Witness
Statements. Quick Fails To Notify Cummings About BWC Rights.

Cummings immediately reported her Work-Related Accident to her supervisor, Michelle
Quick. (“Notice of Accident To Quick”).

In the Notice of Accident To Quick, Cummings told Quick about her Work-Related
Accident.

In the Notice of Accident To Quick, Cummings told Quick she was experiencing the
excruciating, disabling pain resulting from the Work-Related Accident.

As a result of the Notice Of Accident To Quick, Quick had notice of Cummings’ Work-
Related Accident.

As a result of the Notice Of Accident To Quick, Quick had notice that Cummings was
injured.

Quick explained to Cummings that she would not Complete A First Report of Injury because
earlier, Cummings complained to her about having shoulder discomfort. (“Quicks’

Justification For Refusing To Complete A First Report of Injury”).

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46. Inresponse to the Notice of Accident To Quick, Quick refused to complete a First Report of
Injury.

47. In response to the Note of Accident To Quick, Quick did not complete a First Report of
Injury. (“Quicks’ Refusal To Complete A First Report of Injury”).

48. Inresponse to the Notice Of Accident To Quick, Quick did not take witness statements from
other employees who witnessed Cummings Work-Related Accident. (“Quicks’ Failure To
Obtain Witness Statements”).

49. Quick’s Justification For Refusing To Complete A First Report of Injury was unrelated to
Cummings’ Work-Related Accident.

50. In response to the Notice of Accident To Quick, Quick did not notify Cummings of her right
to file a workers’ compensation (“BWC”) claim. (“Quicks’ Failure To Notify Cummings Of
Her Right To File A BWC Claim”).

51. The Ohio Administrative Code imposes a duty upon every employer to assist injured or
disabled employees in the preparation and submission of reports for compensation and/or
benefits, OAC 4123-3-08(5). (“Employer’s Duty To Assist Employees In Preparation Of
Reports For Compensation And/or Benefits”).

52. Quick had a duty to assist Cummings, who sustained Work-Related Injuries resulting from
her Work-Related Accident, in the preparation and submission of reports for BWC
compensation and/or BWC benefits.

53. Because Cummings’ injuries were disabling, Quick should have completed the first report of
injury on behalf of Cummings because Cummings was unable to complete the first report of

injury because of her physical Disability.

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54. Quick breached the Employer’s Duty To Assist Employees In Preparation Of Reports For
Compensation And/or Benefits when she refused to assist Cummings in the preparation and
submission of reports for BWC compensation and/or BWC benefits.

55. Quicks’ Justification For Refusing To Complete A First Report of Injury was a breach of the
Employer’s Duty To Assist Employees In Preparation Of Reports For Compensation And/or
Benefits.

56. Quicks’ breach of the Employer’s Duty To Assist Employees In Preparation Of Reports For
Compensation And/or Benefits resulted in the denial and/or delay of receipt of BWC benefits
to Cummings.

57. Alternatively, Quicks’ breach of the Employer’s Duty To Assist Employees In Preparation
Of Reports For Compensation And/or Benefits, denied and/or delayed Cummings’ BWC
benefits.

58. Quicks’ breach of the Employer’s Duty To Assist Employees In Preparation Of Reports For
Compensation And/or Benefits was workers’ compensation discrimination.

59. Quicks’ breach of the Employer’s Duty To Assist Employees In Preparation Of Reports For
Compensation And/or Benefits was workers’ compensation discrimination done
intentionally.

60. Quicks’ breach of the Employer’s Duty To Assist Employees In Preparation Of Reports For
Compensation And/or Benefits was workers’ compensation discrimination done willingly.

61. Quicks’ breach of the Employer’s Duty To Assist Employees In Preparation Of Reports For

Compensation And/or Benefits was workers’ compensation discrimination done knowingly.

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62. Defendants are liable to Cummings for any and all damages resulting from Quicks’ breach
of the Employer’s duty To Assist Employees In Preparation Of Reports For Compensation
And/or Benefits.

63. The Ohio Administrative Code provides that an employer may complete the first report of
injury in the event that the injured or disabled employee is unable to complete the first report
of injury by reason of physical disability, OAC 4123-3-08(4). (“Employer May Complete
First Report of Injury On Behalf of Disabled Employee”).

64. Quick violated BWC Rules when she refused to complete the first report of injury on behalf
of Cummings while Cummings was unable to complete the first report of injury for herself
because of her physical Disability.

65. Quicks’ violation of BWC Rules by refusing to complete the first report of injury on behalf
of an injured, disabled, Cummings, while unable to complete the first report of injury for
herself because of her physical Disability, was workers’ compensation discrimination.

66. Quicks’ violation of BWC Rules by refusing to complete the first report of injury on behalf
of an injured, disabled, Cummings, while unable to complete the first report of injury for
herself because of her physical Disability, was workers’ compensation discrimination done
intentionally.

67. Quicks’ violation of BWC Rules by refusing to complete the first report of injury on behalf
of an injured, disabled, Cummings, while unable to complete the first report of injury for
herself because of her physical Disability, was workers’ compensation discrimination done
willingly.

68. Quicks’ violation of BWC Rules by refusing to complete the first report of injury on behalf

of an injured, disabled, Cummings, while unable to complete the first report of injury for

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herself because of her physical Disability, was workers’ compensation discrimination done
knowingly.

69. Defendants are liable to Cummings for any and all damages resulting from Quicks’ refusal
to complete the first report of injury on behalf of an injured, disabled, Cummings, while
unable to complete the first report of injury for herself because of her physical Disability.

70. BWC Rules require employers to obtain witness statements from witnesses who observed
and/or assisted in the Work-Related Accident.

71. Cummings’ co-worker, Nancy Boil, assisted Cummings during her Work-Related Accident.

72. Cummings’ co-worker, Nancy Boil, was a witness because she assisted Cummings in
Cummings’ Work-Related Accident.

73. Quick was required by BWC Rules to obtain witness statements from Nancy Boil because
Nancy was a witness who assisted Cummings in Cummings’ Work-Related Accident.

74. Quick failed to obtain a witness statement from Nancy Boil.

75. Quick’s Failure To Obtain Witness Statements from Nancy Boil was a violation of BWC
requirements.

76. Quicks’ Failure To Obtain Witness Statements from Nancy Boil was a violation of BWC
requirements done intentionally.

77. Quicks’ Failure To Obtain Witness Statements from Nancy Boil was a violation of BWC
requirements done willingly.

78. Quicks’ Failure To Obtain Witness Statements from Nancy Boil was a violation of BWC
requirements done knowingly.

79. Quicks’ Failure to Obtain Witness Statements from other witnesses was workers’

compensation discrimination.

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80. BWC Rules require Quick to obtain witness statements from other witnesses who may have
witnessed and/or assisted Cummings in Cummings’ Work-Related Accident.

81. Other witnesses may have witnessed Cummings’ Work-Related Accident.

82. Quick failed to obtain witness statements from other witnesses who may have witnessed
Cummings’ Work-Related Accident.

83. Quicks’ Failure to Obtain Witness Statements from other witnesses who may have witnessed
Cummings’ Work-Related Accident was workers’ compensation discrimination done
intentionally.

84. Quicks’ Failure to Obtain Witness Statements who may have witnessed Cummings’ Work-
Related Accident was workers’ compensation discrimination done willingly.

85. Quicks’ Failure to Obtain Witness Statements who may have witnessed Cummings’ Work-
Related Accident was workers’ compensation discrimination done knowingly.

86. Other witnesses may have assisted Cummings during her Work-Related Accident.

87. Quick failed to obtain witness statements from other witnesses who may have assisted
Cummings during her Work-Related Accident.

88. Defendants are liable to Cummings for any and all damages resulting from Quicks’ Failure
To Obtain Witness Statements from other witnesses who may have witnessed Cummings’
Work-Related Accident.

89. BWC Rules require Quick to Notify Cummings of her right to file a BWC claim.

90. Quicks’ Failure To Notify Cummings Of Her Right To File A BWC Claim resulted in the
denial and/or delay of receipt of BWC benefits to Cummings.

91. Alternatively, Quicks’ Failure to Notify Cummings Of Her Right To File A BWC Claim

denied and/or delayed BWC benefits to Cummings.

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92. Quicks’ Failure To Notify Cummings Of Her Right To File A BWC Claim was workers’
compensation discrimination.

93. Quicks’ Failure To Notify Cummings Of Her Right To File A BWC Claim was workers’
compensation discrimination done intentionally.

94. Quicks’ Failure To Notify Cummings Of Her Right To File A BWC Claim was workers’
compensation discrimination done willingly.

95. Quicks’ Failure To Notify Cummings Of Her Right To File A BWC Claim was workers’
compensation discrimination done knowingly.

96. Defendants are liable to Cummings for any and all damages resulting from Quicks’ Failure

To Notify Cummings Of Her Right To File A BWC Claim.

E. Cummings Notifies General Manager, Marc Keeler, About Her Work-Related
Accident. Keeler Fails To Make A First Report of Injury. Keeler Fails To Get

Witness Statements. Keeler Fails To Notify Cummings About BWC Rights.

97. Cummings tried to continue working but notified Mark Keeler, General Manager, at 9:30
a.m. that she needed to leave work early because of her Work-Related Accident. (“Notice
of Accident To Keeler’’).

98. In the Notice of Accident To Keeler, Cummings told Keeler about her Work-Related
Accident.

99. In the Notice of Accident To Keeler, Cummings told Keeler she was experiencing the
excruciating, disabling pain resulting from the Work-Related Accident.

100. As a result of the Notice Of Accident To Keeler, Keeler had notice of Cummings’ Work-
Related Accident.

101. As a result of the Notice Of Accident To Keeler, Keeler had notice that Cummings was

injured.

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102. In response to Cummings’ Notice of Accident to Keeler, Keeler gave Cummings the option
to take vacation time to cover lost time due to her Work-Related Injuries. (“Keeler Gives
Cummings Option To Use Vacation Leave To Cover Lost Time For Disability”).

103. In response to the Notice of Accident To Keeler, Keeler failed to complete a First Report of
Injury. (“Keelers’ Failure To Complete A First Report of Injury”’).

104. In response to the Notice Of Accident To Keeler, Keeler did not take witness statements from
other employees who witnessed Cummings Work-Related Accident. (“Keelers’ Failure To
Obtain Witness Statements”).

105. In response to the Notice of Accident To Keeler, Keeler did not notify Cummings of her right
to file a workers’ compensation (“BWC”) claim. (“Keelers’ Failure To Notify Cummings
Of Her Right To File A BWC Claim”).

106. Keeler had a duty to assist Cummings, who sustained Work-Related Injuries resulting from
her Work-Related Accident, in the preparation and submission of reports for BWC
compensation and/or BWC benefits.

107. Because Cummings’ injuries were disabling, Keeler should have completed the first report
of injury on behalf of Cummings because Cummings was unable to complete the first report
of injury because of her physical Disability.

108. Keeler breached the Employer’s Duty To Assist Employees In Preparation Of Reports For
Compensation And/or Benefits when she refused to assist Cummings in the preparation and
submission of reports for BWC compensation and/or BWC benefits.

109. Keelers’ Justification For Refusing To Complete A First Report of Injury was a breach of
the Employer’s Duty To Assist Employees In Preparation Of Reports For Compensation

And/or Benefits.

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110. Keelers’ breach of the Employer’s Duty To Assist Employees In Preparation Of Reports For
Compensation And/or Benefits resulted in the denial and/or delay of receipt of BWC benefits
to Cummings.

111. Alternatively, Keelers’ breach of the Employer’s Duty To Assist Employees In Preparation
Of Reports For Compensation And/or Benefits, denied and/or delayed Cummings’ BWC
benefits.

112. Keelers’ breach of the Employer’s Duty To Assist Employees In Preparation Of Reports For
Compensation And/or Benefits was workers’ compensation discrimination.

113. Keelers’ breach of the Employer’s Duty To Assist Employees In Preparation Of Reports For
Compensation And/or Benefits was workers’ compensation discrimination done
intentionally.

114. Keelers’ breach of the Employer’s Duty To Assist Employees In Preparation Of Reports For
Compensation And/or Benefits was workers’ compensation discrimination done willingly.

115. Keelers’ breach of the Employer’s Duty To Assist Employees In Preparation Of Reports For
Compensation And/or Benefits was workers’ compensation discrimination done knowingly.

116. Defendants are liable to Cummings for any and all damages resulting from Keelers’ breach
of the Employer’s duty To Assist Employees In Preparation Of Reports For Compensation
And/or Benefits.

117. Keeler violated BWC Rules when he failed to complete the first report of injury on behalf of
Cummings while Cummings was unable to complete the first report of injury for herself

because of her physical Disability.

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118. Keelers’ violation of BWC Rules by failing to complete the first report of injury on behalf
of an injured, disabled, Cummings, while unable to complete the first report of injury for
herself because of her physical Disability, was workers’ compensation discrimination.

119. Keelers’ violation of BWC Rules by failing to complete the first report of injury on behalf
of an injured, disabled, Cummings, while unable to complete the first report of injury for
herself because of her physical Disability, was workers’ compensation discrimination done
intentionally.

120. Keelers’ violation of BWC Rules by failing to complete the first report of injury on behalf
of an injured, disabled, Cummings, while unable to complete the first report of injury for
herself because of her physical Disability, was workers’ compensation discrimination done
willingly.

121. Keelers’ violation of BWC Rules by failing to complete the first report of injury on behalf
of an injured, disabled, Cummings, while unable to complete the first report of injury for
herself because of her physical Disability, was workers’ compensation discrimination done
knowingly.

122. Defendants are liable to Cummings for any and all damages resulting from Keelers’ refusal
to complete the first report of injury on behalf of an injured, disabled, Cummings, while
unable to complete the first report of injury for herself because of her physical Disability.

123. Keeler was required by BWC Rules to obtain witness statements from Nancy Boil because
Nancy was a witness who assisted Cummings in Cummings’ Work-Related Accident.

124. Keeler failed to obtain a witness statement from Nancy Boil.

125. Quick’s Failure To Obtain Witness Statements from Nancy Boil was a violation of BWC

requirements.

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126. Keelers’ Failure To Obtain Witness Statements from Nancy Boil was a violation of BWC
requirements done intentionally.

127. Keelers’ Failure To Obtain Witness Statements from Nancy Boil was a violation of BWC
requirements done willingly.

128. Keelers’ Failure To Obtain Witness Statements from Nancy Boil was a violation of BWC
requirements done knowingly.

129. Keelers’ Failure to Obtain Witness Statements from other witnesses was workers’
compensation discrimination.

130. Keeler failed to obtain witness statements from other witnesses who may have witnessed
Cummings’ Work-Related Accident.

131. Keelers’ Failure to Obtain Witness Statements from other witnesses who may have witnessed
Cummings’ Work-Related Accident was workers’ compensation discrimination done
intentionally.

132. Keelers’ Failure to Obtain Witness Statements who may have witnessed Cummings’ Work-
Related Accident was workers’ compensation discrimination done willingly.

133. Keelers’ Failure to Obtain Witness Statements who may have witnessed Cummings’ Work-
Related Accident was workers’ compensation discrimination done knowingly.

134. Keeler failed to obtain witness statements from other witnesses who may have assisted
Cummings during her Work-Related Accident.

135. Defendants are liable to Cummings for any and all damages resulting from Keelers’ Failure
To Obtain Witness Statements from other witnesses who may have witnessed Cummings’

Work-Related Accident.

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F. Cummings Seeks Medical Treatment And Is Placed Off Work. Human Resources
Manager, Kristy Fredmonsky, Gives Cummings Option To Cover Lost Time Off
Using Her Personal Time Off (“PTO”).

136. Cummings immediately visited urgent care where her doctor diagnosed her with a lumbar
sprain/strain injury and a cervical sprain/strain injury. (“Medical Diagnosis”).

137. As a result of Cummings’ Work-Related Injuries, Cummings’ doctor placed Cummings off
work for three days as a result of her Work-Related Injuries. (“Lost Time Off No. 1”).

138. As a result of Cummings’ Lost Time Off No. 1, Cummings called Defendants and left a
voicemail informing them of her Medical Diagnosis and her need to be off work for three
days. (“Call to HR Requesting Time Off Due to Work-Related Injury”).

139. As a result of Cummings’ Lost Time Off No. 1, Manager of Human Resources, Kristi
Fredmonsky, called Cummings and gave her the option to use PTO time to cover her lost
time off work.

140. Defendants are a covered employer under the Family Medical Leave Act (“FMLA”).

141. Cummings was eligible to have her Lost Time Off No. 1 covered under the FMLA.

142. Alternatively, Fredmonsky failed to cover Cummings’ Lost Time Off No. 1 under the FMLA.

143. Alternatively, Fredmonsky’s failure to cover Cummings’ Lost Time Off No. 1 under the
FMLA was FMLA Interference and FMLA Retaliation.

144. Alternatively, Fredmonsky’s failure to cover Cummings’ Lost Time Off No. 1 under the
FMLA was FMLA Interference and FMLA Retaliation done intentionally.

145. Alternatively, Fredmonsky’s failure to cover Cummings’ Lost Time Off No. 1 under the
FMLA was FMLA Interference and FMLA Retaliation done willingly.

146. Alternatively, Fredmonsky’s failure to cover Cummings’ Lost Time Off No. 1 under the

FMLA was FMLA Interference and FMLA Retaliation done knowingly.

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147. As a result of Cummings’ Call To HR Requesting Time Off Due To Work-Related Injury,
Fredmonsky had notice of Cummings’ Work-Related Accident.

148. As a result of the Notice Of Accident To Fredmonsky, Fredmonsky had notice that
Cummings was injured.

149. In response to Cummings’ Call To HR Requesting Time Off Due To Work-Related Injury,
Fredmonsky gave Cummings the option to take PTO to cover lost time due to her Work-
Related Injuries. (“Fredmonsky Gives Cummings Option To Use PTO To Cover Lost Time
For Disability”).

150. In response to the Notice of Accident To Fredmonsky, Fredmonsky failed to complete a First
Report of Injury. (“Fredmonskys’ Failure To Complete A First Report of Injury”).

151. In response to the Notice Of Accident To Fredmonsky, Fredmonsky did not take witness
statements from other employees who witnessed Cummings Work-Related Accident.
(“Fredmonskys’ Failure To Obtain Witness Statements”).

152. In response to the Notice of Accident To Fredmonsky, Fredmonsky did not notify Cummings
of her right to file a workers’ compensation (“BWC”) claim. (“Fredmonskys’ Failure To
Notify Cummings Of Her Right To File A BWC Claim”).

153. Fredmonsky had a duty to assist Cummings, who sustained Work-Related Injuries resulting
from her Work-Related Accident, in the preparation and submission of reports for BWC
compensation and/or BWC benefits.

154. Because Cummings’ injuries were disabling, Fredmonsky should have completed the first
report of injury on behalf of Cummings because Cummings was unable to complete the first

report of injury because of her physical Disability.

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155. Fredmonsky breached the Employer’s Duty To Assist Employees In Preparation Of Reports
For Compensation And/or Benefits when she refused to assist Cummings in the preparation
and submission of reports for BWC compensation and/or BWC benefits.

156. Fredmonskys’ Justification For Refusing To Complete A First Report of Injury was a breach
of the Employer’s Duty To Assist Employees In Preparation Of Reports For Compensation
And/or Benefits.

157. Fredmonskys’ breach of the Employer’s Duty To Assist Employees In Preparation Of
Reports For Compensation And/or Benefits resulted in the denial and/or delay of receipt of
BWC benefits to Cummings.

158. Alternatively, Fredmonskys’ breach of the Employer’s Duty To Assist Employees In
Preparation Of Reports For Compensation And/or Benefits, denied and/or delayed
Cummings’ BWC benefits.

159. Fredmonskys’ breach of the Employer’s Duty To Assist Employees In Preparation Of
Reports For Compensation And/or Benefits was workers’ compensation discrimination.

160. Fredmonskys’ breach of the Employer’s Duty To Assist Employees In Preparation Of
Reports For Compensation And/or Benefits was workers’ compensation discrimination done
intentionally.

161. Fredmonskys’ breach of the Employer’s Duty To Assist Employees In Preparation Of
Reports For Compensation And/or Benefits was workers’ compensation discrimination done
willingly.

162. Fredmonskys’ breach of the Employer’s Duty To Assist Employees In Preparation Of
Reports For Compensation And/or Benefits was workers’ compensation discrimination done

knowingly.

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163. Defendants are liable to Cummings for any and all damages resulting from Fredmonskys’
breach of the Employer’s duty To Assist Employees In Preparation Of Reports For
Compensation And/or Benefits.

164. Fredmonsky violated BWC Rules when he failed to complete the first report of injury on
behalf of Cummings while Cummings was unable to complete the first report of injury for
herself because of her physical Disability.

165. Fredmonskys’ violation of BWC Rules by failing to complete the first report of injury on
behalf of an injured, disabled, Cummings, while unable to complete the first report of injury
for herself because of her physical Disability, was workers’ compensation discrimination.

166. Fredmonskys’ violation of BWC Rules by failing to complete the first report of injury on
behalf of an injured, disabled, Cummings, while unable to complete the first report of injury
for herself because of her physical Disability, was workers’ compensation discrimination
done intentionally.

167. Fredmonskys’ violation of BWC Rules by failing to complete the first report of injury on
behalf of an injured, disabled, Cummings, while unable to complete the first report of injury
for herself because of her physical Disability, was workers’ compensation discrimination
done willingly.

168. Fredmonskys’ violation of BWC Rules by failing to complete the first report of injury on
behalf of an injured, disabled, Cummings, while unable to complete the first report of injury
for herself because of her physical Disability, was workers’ compensation discrimination
done knowingly.

169. Defendants are liable to Cummings for any and all damages resulting from Fredmonskys’

refusal to complete the first report of injury on behalf of an injured, disabled, Cummings,

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while unable to complete the first report of injury for herself because of her physical
Disability.

170. Fredmonsky was required by BWC Rules to obtain witness statements from Nancy Boil
because Nancy was a witness who assisted Cummings in Cummings’ Work-Related
Accident.

171. Fredmonsky failed to obtain a witness statement from Nancy Boil.

172. Quick’s Failure To Obtain Witness Statements from Nancy Boil was a violation of BWC
requirements.

173. Fredmonskys’ Failure To Obtain Witness Statements from Nancy Boil was a violation of
BWC requirements done intentionally.

174. Fredmonskys’ Failure To Obtain Witness Statements from Nancy Boil was a violation of
BWC requirements done willingly.

175. Fredmonskys’ Failure To Obtain Witness Statements from Nancy Boil was a violation of
BWC requirements done knowingly.

176. Fredmonskys’ Failure to Obtain Witness Statements from other witnesses was workers’
compensation discrimination.

177. Fredmonsky failed to obtain witness statements from other witnesses who may have
witnessed Cummings’ Work-Related Accident.

178. Fredmonskys’ Failure to Obtain Witness Statements from other witnesses who may have
witnessed Cummings’ Work-Related Accident was workers’ compensation discrimination
done intentionally.

179. Fredmonskys’ Failure to Obtain Witness Statements who may have witnessed Cummings’

Work-Related Accident was workers’ compensation discrimination done willingly.

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180. Fredmonskys’ Failure to Obtain Witness Statements who may have witnessed Cummings’
Work-Related Accident was workers’ compensation discrimination done knowingly.

181. Fredmonsky failed to obtain witness statements from other witnesses who may have assisted
Cummings during her Work-Related Accident.

182. Defendants are liable to Cummings for any and all damages resulting from Fredmonskys’
Failure To Obtain Witness Statements from other witnesses who may have witnessed
Cummings’ Work-Related Accident.

G. Cummings’ Work-Related Injuries Worsen. Two Different Doctors Extend Her
Time Off. Fredmonsky Downplays Cummings’ Work-Related Injuries.

183. On or about June 2, 2020, Cummings’ back injury became worse and she again returned to
urgent care for medical treatment. (“Worsened Work-Related Injuries”).

184. As aresult of Cummings’ Worsened Work-Related Injuries, Cummings’ doctor extended her
time off work and provided Cummings with supporting medical documentation.

185. As a result of Cummings’ Lost Time Off No. 2, Cummings notified Fredmonsky that her
doctor placed her off work for an extended period. (“Notice To Defendants Of Lost Time
Off No.2”).

186. In response to Cummings’ Notice To Defendants Of Lost Time Off No. 2, Fredmonsky failed
to Notify Cummings of her BWC Rights. (“Failure To Notify Cummings Of Her BWC
Rights”).

187. Fredmonsky’s Failure To Notify Cummings Of Her BWC Rights is workers’ compensation
discrimination.

188. Fredmonsky’s Failure To Notify Cummings Of Her BWC Rights is workers’ compensation

discrimination done intentionally.

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189. Fredmonsky’s Failure To Notify Cummings Of Her BWC Rights is workers’ compensation
discrimination done willingly.

190. Fredmonsky’s Failure To Notify Cummings Of Her BWC Rights is workers’ compensation
discrimination done knowingly.

191. In response to Cummings’ Notice To Defendants Of Lost Time Off No. 2, Fredmonsky failed
to Notify Cummings that by filing a BWC claim, once approved, her lost time off would be
paid by BWC. (“Failure To Notify Cummings To File A BWC Claim”).

192. In response to Cummings Notice To Defendants Of Lost Time Off No. 2, Fredmonsky’s
failure to Notify Cummings To File A BWC Claim is workers’ compensation discrimination.

193. In response to Cummings Notice To Defendants Of Lost Time Off No. 2, Fredmonsky’s
failure to Notify Cummings To File A BWC Claim is workers’ compensation discrimination
done intentionally.

194. In response to Cummings Notice To Defendants Of Lost Time Off No. 2, Fredmonsky’s
failure to Notify Cummings To File A BWC Claim is workers’ compensation discrimination
done willingly.

195. In response to Cummings Notice To Defendants Of Lost Time Off No. 2, Fredmonsky’s
failure to Notify Cummings To File A BWC Claim is workers’ compensation discrimination
done knowingly.

196. As a result of Cummings’ Lost Time Off No. 2, Cummings provided Fredmonsky with
supporting medical documentation.

197. In response to Cummings’ Lost Time Off No. 2, Fredmonsky told Cummings, “Your back

can’t be that messed up!” (“Your Back Can’t Be That Messed Up Comment.”).

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198. In response to Cummings’ Lost Time Off No. 2, Fredmonsky pressured Cummings to go to
a different doctor at Access Point and leave her doctor at urgent care. (‘‘Pressuring
Cummings To Switch Doctors”).

199. Fredmonskys’ Pressuring Cummings To Switch Doctors was done in hopes that a different
doctor would find that Cummings’ Work-Related Injuries were not as serious as the urgent
care doctor had opined.

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200. Fredmonsky’s Pressuring Cummings To Switch Doctors is workers’ compensation
discrimination.

201. Fredmonsky’s Pressuring Cummings To Switch Doctors is workers’ compensation
discrimination done intentionally.

202. Fredmonsky’s Pressuring Cummings To Switch Doctors is workers’ compensation
discrimination done willingly.

203. Fredmonsky’s Pressuring Cummings To Switch Doctors is workers’ compensation
discrimination was knowingly.

204. Alternatively, Cummings was eligible to have her Lost Time Off No. 2 covered under the
FMLA.

205. Alternatively, Fredmonsky failed to cover Cummings’ Lost Time Off No. 2 under the FMLA.

206. Alternatively, Fredmonsky’s failure to cover Cummings’ Lost Time Off No. 2 under the
FMLA was FMLA Interference and FMLA Retaliation.

207. Alternatively, Fredmonsky’s failure to cover Cummings’ Lost Time Off No. 2 under the
FMLA was FMLA Interference and FMLA Retaliation done intentionally.

208. Alternatively, Fredmonsky’s failure to cover Cummings’ Lost Time Off No. 2 under the

FMLA was FMLA Interference and FMLA Retaliation done willingly.

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209. Alternatively, Fredmonsky’s failure to cover Cummings’ Lost Time Off No. 2 under the
FMLA was FMLA Interference and FMLA Retaliation done knowingly.

H. At Fredmonsky’s Pressuring, Cummings Switches Doctors And Placed Off Work
For Three Additional Days. Cummings Exhausts Personal Leave And Requests
That Her Doctor Return Her to Work Without Restrictions.

210. In response to Fredmonskys’ Pressuring Cummings To Switch Doctors, Cummings left her
Doctor at urgent care and went to an Access Point doctor who placed her off work for three
additional days, referred her to a specialist, and returned her back to work without restrictions
on June 10, 2020. (“Lost Time Off No. 3”).

211. Cummings requested of her doctor to return her to work without work restrictions because
she had exhausted her PTO and had no income to sustain herself.

212. Cummings notified Fredmonsky of her Lost Time Off No. 3. (“Notice To Defendants Of
Lost Time Off No. 3”).

213. Inresponse to Cummings’ Notice To Defendants Of Lost Time Off No. 3, Fredmonsky failed
to Notify Cummings of her BWC Rights. (“Failure To Notify Cummings Of Her BWC
Rights”).

214. Fredmonsky’s Failure To Notify Cummings Of Her BWC Rights is workers’ compensation
discrimination.

215. Fredmonsky’s Failure To Notify Cummings Of Her BWC Rights is workers’ compensation
discrimination done intentionally.

216. Fredmonsky’s Failure To Notify Cummings Of Her BWC Rights is workers’ compensation
discrimination done willingly.

217. Fredmonsky’s Failure To Notify Cummings Of Her BWC Rights is workers’ compensation

discrimination done knowingly.

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218. Inresponse to Cummings’ Notice To Defendants Of Lost Time Off No. 3, Fredmonsky failed
to Notify Cummings that by filing a BWC claim, once approved, her lost time off would be
paid by BWC. (“Failure To Notify Cummings To File A BWC Claim”).

219. In response to Cummings’ Notice To Defendants Of Lost Time Off No. 3, Fredmonsky’s
failure to Notify Cummings To File A BWC Claim is workers’ compensation discrimination.

220. In response to Cummings’ Notice To Defendants Of Lost Time Off No. 3, Fredmonsky’s
failure to Notify Cummings To File A BWC Claim is workers’ compensation discrimination
done intentionally.

221. In response to Cummings’ Notice To Defendants Of Lost Time Off No. 3, Fredmonsky’s
failure to Notify Cummings To File A BWC Claim is workers’ compensation discrimination
done willingly.

222. In response to Cummings’ Notice To Defendants Of Lost Time Off No. 3, Fredmonsky’s
failure to Notify Cummings To File A BWC Claim is workers’ compensation discrimination
done knowingly.

223. Alternatively, Fredmonsky failed to cover Cummings’ Lost Time Off No. 3 under the FMLA.

224. Alternatively, Fredmonsky’s failure to cover Cummings’ Lost Time Off No. 3 under the
FMLA was FMLA Interference and FMLA Retaliation.

225. Alternatively, Fredmonsky’s failure to cover Cummings’ Lost Time Off No. 3 under the
FMLA was FMLA Interference and FMLA Retaliation done intentionally.

226. Alternatively, Fredmonsky’s failure to cover Cummings’ Lost Time Off No. 3 under the
FMLA was FMLA Interference and FMLA Retaliation done willingly.

227. Alternatively, Fredmonsky’s failure to cover Cummings’ Lost Time Off No. 3 under the

FMLA was FMLA Interference and FMLA Retaliation done knowingly.

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I. Cummings Returns To Work Without Restrictions And Becomes Totally Disabled.
Cummings’ Provides Medical Documentation And FMLA Documentation To
Fredmonsky. Fredmonsky Terminates Cummings.

228. On June 10, 2020, Cummings returned to work without restrictions. (“Return To Work
Without Work Restrictions”).

229. During Cummings’ Return To Work Without Work Restrictions, Cummings worked on June
10, 11, 12, 2020 and June 13, 2020.

230. As aresult of Cummings’ Return To Work Without Work Restrictions, on June 13, 2020, by
the end of Cummings’ workday, Cummings’ could barely move because pain engulfed her
body. (“Cummings Becoming Totally Disabled”).

231. As a result of Cummings Becoming Totally Disabled, Cummings visited a back specialist
who faxed Defendants copies of Cummings’ medical excuse and FMLA documents covering
the entire period of time she was off work from May 29, 2020 to August 7, 2020. (“Doctor’s
Faxed Medical Excuse and FMLA Documents”).

232. Cummings returned to work on August 10, 2020 and visited HR to inform Fredmonsky that
she had additional medical appointments to attend and to cover under her FMLA. (“Visit to
HR To Provide Notice Of Medical Appointments To Be Covered Under FMLA”).

233. In response to Cummings’ Visit to HR To Provide Notice of Medical Appointments To Be
Covered Under FMLA, Fredmonsky told Cummings that her FMLA documents were “fake.”

234. In response to Cummings’ Visit to HR To Provide Notice Of Medical Appointments To Be
Covered Under FMLA, Fredmonsky told Cummings that her Doctor’s Faxed Medical
Excuse and FMLA Documents were fake.

235. On August 12, 2020, Fredmonsky terminated Cummings’ employment with Defendants.

(“Terminating Cummings’ Employment’).

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236. Defendants’ Terminating Cummings’ Employment was an adverse employment action.

237. Defendants’ Terminating Cummings’ Employment was an adverse employment action done
intentionally.

238. Defendants’ Terminating Cummings’ Employment was an adverse employment action done
willingly.

239. Defendants’ Terminating Cummings’ Employment was an adverse employment action done
knowingly.

240. As justification for Terminating Cummings’ Employment, Fredmonsky told Cummings that
she was being terminated due to her attendance. (“Justification for Terminating Cummings’
Employment”).

241. Defendants’ Justification For Terminating Cummings’ Employment did not actually
motivate Defendants’ decision to terminate Cummings.

242. Defendants’ Justification For Terminating Cummings’ Employment was insufficient to
motivate Defendants’ decision to terminate Cummings.

243. Defendants’ Justification For Terminating Cummings’ Employment was pretext for
terminating Cummings.

244. Defendants’ Terminating Cummings’ Employment was workers’ compensation
discrimination.

245. Defendants’ Terminating Cummings’ Employment was FMLA Interference and FMLA

Retaliation.

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COUNT I: WORKER’S COMPENSATION RETALIATION IN VIOLATION OF R.C.
4123.90

(As to Defendant Ferriot Only)

246. Cummings restates each and every prior paragraph of this Complaint, as if it were fully
restated herein.

247. At all times relevant, Cummings was an employee under R.C. 4123.01(A).

248. At all times relevant, Defendants was an employer under R.C. 4123.01(B).

249. Cummings was injured on the job while working for Ferriot on or about May 27, 2020.

250. Defendants violated R.C. 4123.90 by terminating Cummings after Cummings suffered a
work-related injury.

251. Defendants violated R.C. 4123.90 by terminating Cummings after suffered a work-related
injury for which she was entitled to workers’ compensation.

252. Other similarly situated employees who did not suffer a work-related injury were not
terminated without cause.

253. Other similarly situated employees who were not injured on the job were not terminated
without cause.

254. Defendants violated R.C. 4123.90 when they failed to notify Cummings of her right to
workers’ compensation benefits.

255. Defendants violated R.C. 4123.60 when they failed to make a first report of injury when
Cummings was injured.

256. Defendants violated R.C. 4123.90 when they failed to obtain witness statements when
Cummings was injured.

257. Defendants willfully retaliated and discriminated against Cummings in violation of R.C.

4123.90.

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258. As a direct and proximate cause of Defendants’ conduct, Cummings suffered and will
continue to suffer damages.

259. Prior to being terminated, Cummings provided written notice to Defendants of his intent to

260. As a direct and proximate cause of Defendants’ conduct, Cummings is entitled to all damages
provided for in R.C. 4123.90 including liquidated damages, costs, and reasonable attorneys’
fees.

COUNT I: WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY
(As to Defendant Ferriot Only)

261. Cummings restates each and every prior paragraph of this Complaint as if it were fully
restated herein.

262. A clear public policy exists and is manifested in Ohio statutes and/or administrative
regulations, or in the common law, against terminating an employee to avoid a Workers’
Compensation claim.

263. A clear public policy exists and is manifested in Ohio statutes and/or administrative
regulations, or in the common law, against terminating and/or retaliating against an employee
because he engages in protected activity under Ohio law.

264. Specifically, in Sutton v. Tomco Machine, 129 Ohio St.3d 153, 163 (2011), the Ohio Supreme
Court noted, “we recognize a common-law tort claim for wrongful discharge in violation of
public policy when an injured employee suffers retaliatory employment action after an injury
but before he or she files, institutes, or pursues a workers’ compensation claim.”

265. Defendants’ termination of Cummings jeopardizes the public policies in Sutton.

266. Defendants’ termination of Cummings was motivated by conduct related to these public

policies in Sutton.

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267. Defendants had no overriding business justification for terminating Cummings. As a direct
and proximate result of Defendants’ conduct, Cummings has suffered and will continue to
suffer damages, including economic, emotional distress and physical sickness damages.

COUNT HI: UNLAWFUL INTERFERENCE WITH FMLA RIGHTS
(As to All Defendants)

268. Cummings restates each and every prior paragraph of this Complaint, as if it were fully
restated herein.

269. Pursuant to 29 U.S.C. 2601 et seq., covered employers are required to provide employees
job-protected, unpaid leave for qualified medical and family situations.

270. Pursuant to Section 105 of the FMLA and Section 825.220 of the FMLA regulations prohibit
an employer from interfering with, restraining, or denying the exercise of, or the attempt to
exercise, any FMLA right. An employer is prohibited from discriminating or retaliating
against an employee for having exercised or attempted to exercise any FMLA right. Any
violations of the FMLA or the Department’s regulations constitute interfering with,
restraining or denying the exercise of nghts provided by the FMLA.

271. Upon belief and information, Defendant is a covered employer under the FMLA.

272. On three separate occasions, Defendants failed to provide Cummings’ absences, resulting
from a work-related injury, under FMLA.

273. Defendants failed to inform Cummings that she was eligible for FMLA coverage.

274. Defendants unlawfully interfered with Lyons’ exercise of her rights under the FMLA in
violation of Section 105 of the FMLA and Section 825.220 of the FMLA regulations.

275. Defendants violated the FMLA when they terminated Cummings’ employment for

exercising her rights to use FMLA to cover her own serious health conditions.

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276. Defendants’ interference with Lyons’ FMLA rights was an attempt to discourage Cummings
from using FMLA and in violation of Section 105 of the FMLA and Section 825.220 of the
FMLA regulations.

277. Defendants’ discouragement attempts interfered with, restrained, and denied Cummings of
the free exercise and/or the attempt to exercise her statutory rights to FMLA.

278. As a direct and proximate result of Defendants’ conduct, Cummings is entitled to any all
damages, including liquidated damages, costs, and reasonable attorney’s fees.

COUNT IV: RETALIATION IN VIOLATION OF THE FMLA
(As to All Defendants)

279. Cummings restates each and every prior paragraph of this Complaint, as if it were fully
restated herein.

280. Section 2615 of the FMLA prohibits employers from discharging, discriminating or
otherwise retaliating against an employee for exercising her rights under the FMLA.

281. Section 2615 of the FMLA provides that employer shall be required to pay the eligible
employee damages in the form of lost wages (plus interest), as well as liquidated damages
equal to the sum of the amount of the lost wages plus the interest.

282. Defendants retaliated against Cummings by terminating her employment after she requested
to use FMLA leave.

283. Defendants retaliated against Cummings by terminating her employment for her continued
use of FMLA leave to cover past and future medical appointments.

284. Defendants willfully retaliated against Cummings in violation of 29 U.S.C. 2615(a).

285. As a direct and proximate result of Defendants’ wrongful conduct, Cummings is entitled to
all damages provided for in 29 U.S.C. 2617, including liquidated damages, costs, and

reasonable attorneys’ fees.

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DEMAND FOR RELIEF

WHEREFORE, Cummings demands from Defendants the following:

a) Issue an order requiring Defendants to restore Cummings to one of the positions to which
he was entitled by virtue of his application and qualifications, and expunge his personnel
file of all negative documentation;

b) An award against each Defendant of compensatory and monetary damages to compensate
Cummings for physical injury, physical sickness, lost wages, emotional distress, and other
consequential damages, in an amount in excess of $ 25,000 per claim to be proven at trial;

c) An award of punitive damages against each Defendant in an amount in excess of $ 25,000;

d) An award of reasonable attorneys’ fees and non-taxable costs for Cummings’ claims as
allowable under law;

e) An award of the taxable costs of this action; and

f) An award of such other relief as this Court may deem necessary and proper.

Respectfully submitted,

/s/ Brian D. Spitz

Brian D. Spitz (0068816)

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JURY DEMAND

Plaintiff Erin Cummings demands a trial by jury by the maximum number of jurors permitted.

/s/ Brian D. Spitz

Brian D. Spitz (0068816)

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